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AF Approval | \"'\" Chief Approval (BatD _

MIDDLE DISTRICT OF FLORIDA

UNITED STATES DISTRICT COURT 2821SEP -2 PM 3r5y7—
ORLANDO DIVISION NULLE OS TRICT GEOR bein,

UNITED STATES OF AMERICA
v. Case No, Winch 1" pos LPH
JESUS MANUEL RODRIGUEZ CASTILLO
PLEA AGREEMENT
Pursuant to Fed. R. Crim. P. 11(c), the United States of America, by
Maria Chapa Lopez, United States Attorney for the Middle District of
Florida, and the defendant, JESUS MANUEL RODRIGUEZ CASTILLO,

and the attorney for the defendant, Karla Reyes, mutually agree as follows:

A.  Particularized Terms

1. Count(s) Pleading To

The defendant shall enter a plea of guilty to Count One of the
Information. Counts One charges the defendant with possession with intent

to distribute, in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B).

2. Maximum Penalties

Counts One carries a mandatory minimum sentence of five years
and a maximum sentence of 40 years imprisonment, a fine of $5 million, a
term of supervised release of at least four years, and a special assessment of

$100 per felony count.

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With respect to certain offenses, the Court shall order the
defendant to make restitution to any victim of the offense(s), and with respect
to other offenses, the Court may order the defendant to make restitution to
any victim of the offense(s), or to the community, as set forth below.

3. Elements of the Offense(s)

The defendant acknowledges understanding the nature and
elements of the offense(s) with which defendant has been charged and to
which defendant is pleading guilty. The elements of Count One are:

First: the Defendant knowingly possessed a controlled substance;
and
Second: the Defendant intended to distribute the controlled substance.

4, Alleyne v. United States and Apprendi v. New Jersev

Under Alleyne v. United States, 570 U.S. 99 (2013), and Apprendi v.
New Jersey, 530 U.S. 466 (2000), the defendant is subject to a mandatory
minimum sentence of five years’ imprisonment and a maximum sentence of
forty years’ imprisonment as to Count One because the following facts have
been admitted by the defendant and are established by this plea of guilty:

The substance the Defendant distributed on August 27, 2019 for
which he is charged in Count One of the Information was, in fact, more than

40 grams of a mixture containing fentanyl, a Schedule II controlled substance

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and was, in fact, more than 100 grams of a mixture containing heroin, a
Schedule I controlled substance.
oi Indictment Waiver
Defendant will waive the right to be charged by way of
Indictment before a federal grand jury.
6. No Further Charges
If the Court accepts this plea agreement, the United States
Attorney's Office for the Middle District of Florida agrees not to charge
defendant with committing any other federal criminal offenses known to the
United States Attorney's Office at the time of the execution of this agreement
related to the conduct giving rise to this plea agreement.
7. Guidelines Sentence
Pursuant to Fed. R. Crim. P. 11(c)(1)(B), the United States will
recommend to the Court that the defendant be sentenced within the
defendant’s applicable guidelines range as determined by the Court pursuant
to the United States Sentencing Guidelines, as adjusted by any departure the
United States has agreed to recommend in this plea agreement. The parties
understand that such a recommendation is not binding on the Court and that,

if it is not accepted by this Court, neither the United States nor the defendant

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will be allowed to withdraw from the plea agreement, and the defendant will
not be allowed to withdraw from the plea of guilty.
8. Acceptance of Responsibility - Three Levels

At the time of sentencing, and in the event that no adverse
information is received suggesting such a recommendation to be unwarranted,
the United States will recommend to the Court that the defendant receive a
two-level downward adjustment for acceptance of responsibility, pursuant to
USSG § 3E1.1(a). The defendant understands that this recommendation or
request is not binding on the Court, and if not accepted by the Court, the
defendant will not be allowed to withdraw from the plea.

Further, at the time of sentencing, if the defendant's offense level
prior to operation of subsection (a) is level 16 or greater, and if the defendant
complies with the provisions of USSG § 3E1.1(b) and all terms of this Plea
Agreement, including but not limited to, the timely submission of the financial
affidavit referenced in Paragraph B.5., the United States agrees to file a motion
pursuant to USSG § 3E1.1(b) for a downward adjustment of one additional
level. The defendant understands that the determination as to whether the
defendant has qualified for a downward adjustment of a third level for
acceptance of responsibility rests solely with the United States Attorney for the

Middle District of Florida, and the defendant agrees that the defendant cannot

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and will not challenge that determination, whether by appeal, collateral attack,
or otherwise.
9. Low End

At the time of sentencing, and in the event that no adverse
information is received suggesting such a recommendation to be unwarranted,
the United States will recommend to the Court that the defendant receive a
sentence at the low end of the applicable guideline range, as calculated by the
Court. The defendant understands that this recommendation or request is not
binding on the Court, and if not accepted by the Court, the defendant will not
be allowed to withdraw from the plea.

10. Forfeiture of Assets

The defendant agrees to forfeit to the United States immediately
and voluntarily any and all assets and property, or portions thereof, subject to
forfeiture, pursuant to 21 U.S.C. § 853, whether in the possession or control of
the United States, the defendant or defendant's nominees.

The defendant agrees and consents to the forfeiture of these
assets pursuant to any federal criminal, civil judicial or administrative
forfeiture action. The defendant also agrees to waive all constitutional,
statutory and procedural challenges (including direct appeal, habeas corpus, or

any other means) to any forfeiture carried out in accordance with this Plea

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Agreement on any grounds, including that the forfeiture described herein
constitutes an excessive fine, was not properly noticed in the charging
instrument, addressed by the Court at the time of the guilty plea, announced at
sentencing, or incorporated into the judgment.

If the United States seeks the forfeiture of specific assets pursuant
to Rule 32.2(b)(4), the defendant agrees that the preliminary order of forfeiture
will satisfy the notice requirement and will be final as to the defendant at the
time it is entered. In the event the forfeiture is omitted from the judgment, the
defendant agrees that the forfeiture order may be incorporated into the written
judgment at any time pursuant to Rule 36.

The defendant agrees to take all steps necessary to identify and
locate all property subject to forfeiture and to transfer custody of such property
to the United States before the defendant’s sentencing. To that end, the
defendant agrees to make a full and complete disclosure of all assets over
which defendant exercises control directly or indirectly, including all assets
held by nominees, to execute any documents requested by the United States to
obtain from any other parties by lawful means any records of assets owned by
the defendant, and to consent to the release of the defendant’s tax returns for
the previous five years. The defendant further agrees to be interviewed by the

government, prior to and after sentencing, regarding such assets and their

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connection to criminal conduct. The defendant further agrees to be
polygraphed on the issue of assets, if it is deemed necessary by the United
States. The defendant agrees that Federal Rule of Criminal Procedure 11 and
USSG § 1B1.8 will not protect from forfeiture assets disclosed by the
defendant as part of the defendant’s cooperation.

The defendant agrees to take all steps necessary to assist the
government in obtaining clear title to the forfeitable assets before the
defendant’s sentencing. In addition to providing full and complete
information about forfeitable assets, these steps include, but are not limited to,
the surrender of title, the signing of a consent decree of forfeiture, and signing
of any other documents necessary to effectuate such transfers.

Forfeiture of the defendant's assets shall not be treated as
satisfaction of any fine, restitution, cost of imprisonment, or any other penalty
the Court may impose upon the defendant in addition to forfeiture.

The defendant agrees that, in the event the Court determines that
the defendant has breached this section of the Plea Agreement, the defendant
may be found ineligible for a reduction in the Guidelines calculation for
acceptance of responsibility and substantial assistance, and may be eligible for

an obstruction of justice enhancement.

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The defendant agrees that the forfeiture provisions of this plea
agreement are intended to, and will, survive the defendant, notwithstanding
the abatement of any underlying criminal conviction after the execution of this
agreement. The forfeitability of any particular property pursuant to this
agreement shall be determined as if the defendant had survived, and that
determination shall be binding upon defendant’s heirs, successors and assigns
until the agreed forfeiture, including any agreed forfeiture amount, is collected
in full.

11. Notice of Possibility of Remand Upon Entry of Guilty Plea

The defendant is advised that a finding of guilt will subject the
defendant to the mandatory detention provision of 18 U.S.C. § 3143(a)(2) and
that the defendant will be remanded to the custody of the U.S. Marshals
pending sentencing unless 18 U.S.C. § 3143(a)(2)(A) & (B) or 18 U.S.C.

§ 3145(c) applies.
B. Standard Terms and Conditions
1. Restitution, Special Assessment and Fine

The defendant understands and agrees that the Court, in addition
to or in lieu of any other penalty, shall order the defendant to make restitution
to any victim of the offense(s), pursuant to 18 U.S.C. § 3663A, for all offenses

described in 18 U.S.C. § 3663A(c)(1); and the Court may order the defendant

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to make restitution to any victim of the offense(s), pursuant to 18 U.S.C. §
3663, including restitution as to all counts charged, whether or not the
defendant enters a plea of guilty to such counts, and whether or not such
counts are dismissed pursuant to this agreement. The defendant further
understands that compliance with any restitution payment plan imposed by
the Court in no way precludes the United States from simultaneously pursuing
other statutory remedies for collecting restitution (28 U.S.C. § 3003(b)(2)),
including, but not limited to, garnishment and execution, pursuant to the
Mandatory Victims Restitution Act, in order to ensure that the defendant’s
restitution obligation is satisfied.

On each count to which a plea of guilty is entered, the Court
shall impose a special assessment pursuant to 18 U.S.C. § 3013. The special
assessment is due on the date of sentencing. The defendant understands that
this agreement imposes no limitation as to fine.

2. Supervised Release

The defendant understands that the offense(s) to which the
defendant is pleading provide(s) for imposition of a term of supervised release
upon release from imprisonment, and that, if the defendant should violate the
conditions of release, the defendant would be subject to a further term of

imprisonment.

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3. Immigration Consequences of Pleading Guilty

The defendant has been advised and understands that, upon
conviction, a defendant who is not a United States citizen may be removed
from the United States, denied citizenship, and denied admission to the
United States in the future.

4. Sentencing Information

The United States reserves its right and obligation to report to the
Court and the United States Probation Office all information concerning the
background, character, and conduct of the defendant, to provide relevant
factual information, including the totality of the defendant's criminal activities,
if any, not limited to the count(s) to which defendant pleads, to respond to
comments made by the defendant or defendant's counsel, and to correct any
misstatements or inaccuracies. The United States further reserves its right to
make any recommendations it deems appropriate regarding the disposition of
this case, subject to any limitations set forth herein, if any.

a. Financial Disclosures

Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P.
32(d)(2)(A)(ii), the defendant agrees to complete and submit to the United
States Attorney's Office within 30 days of execution of this agreement an

affidavit reflecting the defendant's financial condition. The defendant

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promises that his financial statement and disclosures will be complete,
accurate and truthful and will include all assets in which he has any interest or
over which the defendant exercises control, directly or indirectly, including
those held by a spouse, dependent, nominee or other third party. The
defendant further agrees to execute any documents requested by the United
States needed to obtain from any third parties any records of assets owned by
the defendant, directly or through a nominee, and, by the execution of this
Plea Agreement, consents to the release of the defendant's tax returns for the
previous five years. The defendant similarly agrees and authorizes the United
States Attorney's Office to provide to, and obtain from, the United States
Probation Office, the financial affidavit, any of the defendant's federal, state,
and local tax returns, bank records and any other financial information
concerning the defendant, for the purpose of making any recommendations to
the Court and for collecting any assessments, fines, restitution, or forfeiture
ordered by the Court. The defendant expressly authorizes the United States
Attorney's Office to obtain current credit reports in order to evaluate the
defendant's ability to satisfy any financial obligation imposed by the Court.
6. Sentencing Recommendations
It is understood by the parties that the Court is neither a party to

nor bound by this agreement. The Court may accept or reject the agreement,

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or defer a decision until it has had an opportunity to consider the presentence
report prepared by the United States Probation Office. The defendant
understands and acknowledges that, although the parties are permitted to
make recommendations and present arguments to the Court, the sentence will
be determined solely by the Court, with the assistance of the United States
Probation Office. Defendant further understands and acknowledges that any
discussions between defendant or defendant's attorney and the attorney or
other agents for the government regarding any recommendations by the
government are not binding on the Court and that, should any
recommendations be rejected, defendant will not be permitted to withdraw
defendant's plea pursuant to this plea agreement. The government expressly
reserves the right to support and defend any decision that the Court may make
with regard to the defendant's sentence, whether or not such decision is
consistent with the government's recommendations contained herein.
i Defendant's Waiver of Right to Appeal the Sentence

The defendant agrees that this Court has jurisdiction and
authority to impose any sentence up to the statutory maximum and expressly
waives the right to appeal defendant's sentence on any ground, including the
ground that the Court erred in determining the applicable guidelines range

pursuant to the United States Sentencing Guidelines, except (a) the ground

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that the sentence exceeds the defendant's applicable guidelines range as
determined by the Court pursuant to the United States Sentencing Guidelines;
(b) the ground that the sentence exceeds the statutory maximum penalty; or (c)
the ground that the sentence violates the Eighth Amendment to the
Constitution; provided, however, that if the government exercises its right to
appeal the sentence imposed, as authorized by 18 U.S.C. § 3742(b), then the
defendant is released from his waiver and may appeal the sentence as

authorized by 18 U.S.C. § 3742(a).

8. Middle District of Florida Agreement

It is further understood that this agreement is limited to the
Office of the United States Attorney for the Middle District of Florida and
cannot bind other federal, state, or local prosecuting authorities, although this
office will bring defendant's cooperation, if any, to the attention of other

prosecuting officers or others, if requested.

9. Filing of Agreement

This agreement shall be presented to the Court, in open court or
in camera, in whole or in part, upon a showing of good cause, and filed in this

cause, at the time of defendant's entry of a plea of guilty pursuant hereto.

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10. Voluntariness

The defendant acknowledges that defendant is entering into this
agreement and is pleading guilty freely and voluntarily without reliance upon
any discussions between the attorney for the government and the defendant
and defendant's attorney and without promise of benefit of any kind (other
than the concessions contained herein), and without threats, force,
intimidation, or coercion of any kind. The defendant further acknowledges
defendant's understanding of the nature of the offense or offenses to which
defendant is pleading guilty and the elements thereof, including the penalties
provided by law, and defendant's complete satisfaction with the representation
and advice received from defendant's undersigned counsel (if any). The
defendant also understands that defendant has the right to plead not guilty or
to persist in that plea if it has already been made, and that defendant has the
right to be tried by a jury with the assistance of counsel, the right to confront
and cross-examine the witnesses against defendant, the right against
compulsory self-incrimination, and the right to compulsory process for the
attendance of witnesses to testify in defendant's defense; but, by pleading
guilty, defendant waives or gives up those rights and there will be no trial.
The defendant further understands that if defendant pleads guilty, the Court

may ask defendant questions about the offense or offenses to which defendant

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pleaded, and if defendant answers those questions under oath, on the record,
and in the presence of counsel (if any), defendant's answers may later be used
against defendant in a prosecution for perjury or false statement. The
defendant also understands that defendant will be adjudicated guilty of the
offenses to which defendant has pleaded and, if any of such offenses are
felonies, may thereby be deprived of certain rights, such as the right to vote, to
hold public office, to serve on a jury, or to have possession of firearms.
11. Factual Basis
Defendant is pleading guilty because defendant is in fact guilty.
The defendant certifies that defendant does hereby admit that the facts set
forth in the attached “Factual Basis,” which is incorporated herein by
reference, are true, and were this case to go to trial, the United States would be
able to prove those specific facts and others beyond a reasonable doubt.
12. Entire Agreement
This plea agreement constitutes the entire agreement between the
government and the defendant with respect to the aforementioned guilty plea
and no other promises, agreements, or representations exist or have been

made to the defendant or defendant's attorney with regard to such guilty plea.

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13. Certification
The defendant and defendant's counsel certify that this plea
agreement has been read in its entirety by (or has been read to) the defendant
and that defendant fully understands its terms.
DATED this! @_ day of Sutby, 2020.

MARIA CHAPA LOPEZ
United States Attorney

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Jesus Manuel Rodriguez Castillo Dana E. Hill “

Defendant Assistant United States Attorney
ale as Roger Handberg

Attorney for AP ant Assistant United States Attorney

Chief, Orlando Division

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

UNITED STATES OF AMERICA
V. Case No.

JESUS MANUEL RODRIGUEZ
CASTILLO

PERSONALIZATION OF ELEMENTS

Count Four:
L. On August 27, 2019, did you knowingly possess a controlled
substance?
f. Did you intend to distribute that controlled substance?
oe Was the substance you possessed more than 40 grams ofa

mixture containing fentanyl and more than 100 grams of a
mixture containing heroin?

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

UNITED STATES OF AMERICA

V. Case No.
JESUS MANUEL RODRIGUEZ
CASTILLO
FACTUAL BASIS

Beginning in December 2018, the Drug Enforcement Administration
(DEA) conducted an investigation into the trafficking of fentanyl-laced heroin
in Central Florida. The investigation revealed evidence that shows following
true facts about Defendant JESUS MANUEL RODRIGUEZ CASTILLO:

In December 2018, DEA agents worked with a cooperating source (CS-
1) to conduct a controlled purchase of drugs from RODRIGUEZ CASTILLO.
In phone calls in early December 2018, RODRIGUEZ CASTILLO agreed to
sell 30 grams of heroin to CS-1 for $2,550. On December 7, 2018,
RODRIGUEZ CASTILLO met with CS-1 at a business in Kissimmee, FL
and gave a bag of controlled substances to CS-1 in exchange for $2,550. The
substance RODRIGUEZ CASTILLO gave to CS-1 was later tested and found
to be 29.9308 grams of a mixture containing fentanyl, a Schedule II controlled

substance, and heroin, a Schedule I controlled substance.

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Before January 16, 2019, RODRIGUEZ CASTILLO received and
made several calls to CS-1. In those phone calls, RODRIGUEZ CASTILLO
agreed to sell 30 grams of heroin to CS-1 for $2,400. On January 16, 2019,
RODRIGUEZ CASTILLO met with CS-1 at the same business in
Kissimmee, FL and gave bag of controlled substances to CS-1 in exchange for
$2,400. The substance RODRIGUEZ CASTILLO gave to CS-1 was later
tested and found to be 29.8317 grams of a mixture containing fentanyl, a
Schedule IJ controlled substance, and heroin, a Schedule I controlled
substance.

In early August 2019, RODRIGUEZ CASTILLO received and made
calls to a DEA agent acting in an undercover capacity (UC-1). In those phone
calls, RODRIGUEZ CASTILLO agreed to sell 30 grams of heroin to UC-1
for $1,800. On August 15, 2019, RODRIGUEZ CASTILLO met with UC-1

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and gave a bag of controlled substances to UC-1 in exchange for $2,400. The /D LE
substance RODRIGUEZ CASTILLO gave to UC-1 was later tested and
found to be 30.1 grams of a mixture containing fentanyl, a Schedule II
controlled substance, and heroin, a Schedule I controlled substance.

From August 16, 2019 through August 27, 2019, RODRIGUEZ

CASTILLO received and made calls to UC-1. In those calls, RODRIGUEZ

CASTILLO agreed to sell 200 grams of heroin to UC-1 in exchange for

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$10,000. On August 27, 2019, RODRIGUEZ CASTILLO met with UC-1 at
a business in Orlando and gave controlled substances to UC-1. DEA agents
then interrupted the transaction and detained RODRIGUEZ CASTILLO.
The substance RODRIGUEZ CASTILLO gave to UC-1 was later tested and
found to be 200.2 grams of a mixture containing fentanyl, a Schedule II
controlled substance, and heroin, a Schedule I controlled substance.

On each of the following dates - December 7, 2018, January 16, 2019,
August 15, 2019, and August 27, 2019 - RODRIGUEZ CASTILLO
knowingly possessed controlled substances and intended to distribute them.
The substance that RODRIGUEZ CASTILLO distributed on August 27, 2019
was in fact more than 40 grams of a mixture containing a detectable amount
of fentanyl and was in fact more than 100 grams of a mixture containing a

detectable amount of heroin.

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